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                                                      Main Document    Page 1 of 16



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         Individual appearing without an attorney
         Attorney for: RICHARD A. MARSHACK, Trustee

                                            UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISIONDIVISION

    In re:                                                                      CASE NO.: 8:21-bk-11352-TA
DON TERUO KOJIMA                                                                CHAPTER: 7
SUSAN LORRAINE KOJIMA,

                                                                                NOTICE OF LODGMENT OF ORDER IN
                                                                                BANKRUPTCY CASE RE: (title of motion 1):
                                                                                Motion to Approve Settlement

                                                                  'HEWRU V


PLEASE TAKE NOTE that the order titled Order Granting Trustee's Motion: (1) To Approve Settlement Agreement with
Chase Miles Kaufman, Michael Garrison, and Zachary Powers, and (2) For Turnover of All Client Documents from the
Law Office of Ross L. Hollenkamp
was lodged on (date) 12/27/2022    and is attached. This order relates to the motion which is docket number 317 .




1
    Please abbreviate if title cannot fit into text field.

             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2012                                                         Page 1                        F 9021-1.2.BK.NOTICE.LODGMENT
            Case
12/27/22, 12:25 PM    8:21-bk-11352-TA               Doc 333 Filed 12/27/22       Entered
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                                             Bankruptcy LODGED ORDER UPLOAD FORM

                                                                                                         Tuesday, December 27, 2022




   C O N F I R M AT I O N :

    Yo u r L o d g e d O r d e r I n f o :
   ( 11 2 6 1 5 1 3 . d o c )
      A new order and exhibit has been added




            Office: Santa Ana
            C a s e Ti t l e : D o n Te r u o K o j i m a a n d S u s a n L o r r a i n e K o j i m a
            C a s e N u m b e r : 2 1 - 11 3 5 2
            J u d g e I n i t i a l : TA
            C a s e Ty p e : b k ( B a n k r u p t c y )
            Document Number: 317
            On Date: 12/27/2022 @ 12:25 PM


   T h a n k Yo u !


   United States Bankruptcy Court
   Central District of California
   Edward R. Roybal Federal Building and Courthouse
   2 5 5 E a s t Te m p l e S t r e e t
   Los Angeles, CA 90012




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 7 Attorneys for Chapter 7 Trustee,
   RICHARD A MARSHACK
 8
                               UNITED STATES BANKRUPTCY COURT
 9
                  CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
10
    In re                                      Case No. 8:21-bk-11352-TA
11
                                               Chapter 7
12 DON TERUO KOJIMA
    SUSAN LORRAINE KOJIMA,                     ORDER GRANTING TRUSTEE’S MOTION:
13                                             (1) TO APPROVE SETTLEMENT
                                               AGREEMENT WITH CHASE MILES
14                Debtors.                     KAUFMAN, MICHAEL GARRISON, AND
                                               ZACHARY POWERS, AND (2) FOR
15                                             TURNOVER OF ALL CLIENT DOCUMENTS
                                               FROM THE LAW OFFICE OF ROSS L.
16                                             HOLLENKAMP
17                                                                  Date: December 20, 2022
                                                                    Time: 11:00 a.m.
18                                                                  Ctrm: 5B1
19              The motion of Richard A. Marshack, in his capacity as Chapter 7 Trustee (“Trustee”) of the

20 bankruptcy estate (“Estate”) of Don Teruo Kojima and Susan Lorraine Kojima (together, “Debtors”),

21 (1) to approve the settlement agreement between Trustee, on the one hand, and Chase Miles

22 Kaufman, Michael Garrison, and Zachary Powers (collectively, “KGP”), on the other hand, and

23 (2) for turnover of all client documents from the Law Office of Ross L. Hollenkamp (“Hollenkamp

24 Firm”), filed on November 29, 2022, as Dk. No. 317 (“Motion”),2 came on for hearing on December

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26   1
     Judge Albert’s hearings continue to be conducted using ZoomGov audio and video but hearing participants have the
   option of appearing in person. If a hearing participant wishes to appear in person advance notice will be required.
27 Instructions for a moving party to provide advance notice can be found under the Judge Albert’s Self-Calendaring
   section of his webpage.
28
     2
         All capitalized terms not otherwise defined in this Order shall have the meaning ascribed to them in the Motion.
                                                                   1
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 1 20, 2022, at 11:00 a.m., the Honorable Theodor C. Albert, United States Bankruptcy Judge

 2 presiding. Appearances were as noted on the record.

 3            The Court has read and considered the Motion; the opposition filed by Winthrop Golubow
 4 Hollander, LLP (Dk. No. 322); the opposition filed by Debtors, Cameron Kojima, and the “Adelanto

 5 Entities” (Dk. No. 323); the joinders filed by Peter Hubbard (Dk. No. 324) and KGP (Dk. No. 325);

 6 the replies filed by KGP (Dk. No. 326) and Trustee (Dk. No. 327); and the Declaration of Michael

 7 McNamara filed in support of the Motion (Dk. No. 329), and has found that proper notice has been

 8 given under the circumstances. For the reasons set forth in the tentative ruling attached to this Order

 9 as Exhibit 1 and as stated on the record during the hearing, the Court has found good cause to grant

10 the Motion.

11            Accordingly, the Court ORDERS as follows:
12            1.      The Motion is granted;
13            2.      The Agreement attached as Exhibit 8 to Declaration of Richard A. Marshack in
14 support of the Motion (Dk. No. 317) is approved; and

15            3.      The Hollenkamp Firm’s services to the Estate terminated upon conversion to Chapter
16 7 and the Hollenkamp Firm is ordered to turn over to Trustee all client documents and

17 communications within 14 days after entry of this order. Any claims of privilege shall be made in a

18 written privilege log provided to Trustee within 14 days. If the parties are unable to resolve any

19 disputed claims of privilege, the Court shall do so upon noticed motion.

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                           United States Bankruptcy Court
                            Central District of California
                                        Santa Ana
                                 Theodor Albert, Presiding
                                  Courtroom 5B Calendar

Tuesday, December 20, 2022                                               Hearing Room       5B

11:00 AM
8:21-11352    Don Teruo Kojima and Susan Lorraine Kojima                              Chapter 7

    #4.00     Trustee's Motion: (1) To Approve Settlement Agreement With Chase Miles
              Kaufman, Michael Garrison, and Zachary Powers, And (2) For Turnover Of All
              Client Documents From The Law Office Of Ross L. Hollenkamp

                                Docket       317

  Tentative Ruling:
      Tentative for 12/20/22:
             This is the motion of the chapter 7 trustee, Richard Marshack (“Trustee”)
      to approve a compromise with creditors, Chase Miles Kaufman, Michael
      Garrison, and Zachary Powers (collectively “KGP”). The motion is joined by
      creditors Peter Hubbard and KGP. The motion is opposed by the law firm
      Winthrop Golubow Hollander, LLP (“WGH”) and by Debtors Don and Susan
      Kojima (“Debtors”), their son Cameron Kojima, and related entities (collectively
      “the Kojimas”).

      1. Background
              When Debtors filed their schedules, they disclosed a 66.6% interest in
      Kojima Development Company, LLC (“KDC”). On November 11, 2021, KGP filed
      a “Stipulation Re: Relief from Automatic Stay to Proceed with State Court
      Litigation,” regarding Garrison et al. v. Kojima et al., San Bernardino County
      Superior Court (“SBSC”). On November 16, 2021, the Court entered an “Order
      Approving Stipulation Re: Relief from the Automatic Stay to Proceed with State
      Court Litigation” (“SBSC Stipulation Order”). On February 28, 2022, KGP filed a
      “Complaint for: (1) Determination that Debt Is Non-Dischargeable Pursuant to 11
      U.S.C. § 523; and (2) Denial of Debtors’ Discharge Pursuant to 11 U.S.C. § 727”
      (“KGP 523/727 Complaint”), commencing Kaufman et al. v. Kojima et al.,
      Adversary Proceeding No. 8:22-ap-01026-TA (“KGP 523/727 Action”).

            The KGP 523/727 Complaint alleges that Debtors and their son, Cameron
      Kojima, defrauded KGP by inducing them to invest collectively more than
      $1,000,000 for a real estate development project in Adelanto, California, and
      usurped, misappropriated, and embezzled the funds. On March 23, 2022,
      Debtors filed a “Motion for Order: (1) Approving the Sale of Real Property of the


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11:00 AM
CONT...        Don Teruo Kojima and Susan Lorraine Kojima                            Chapter 7
       Estate Free and Clear of Liens, Claims, and Interests Pursuant to 11 U.S.C. §
       363 . . .” (“Sale Motion”) regarding the Kojima residence at 7 Shoreridge,
       Newport Coast, California 92657 (“Shoreridge Property”). On April 13, 2022, the
       Court entered an order granting the Sale Motion.

             On April 12, 2022, Debtors filed an “Application of Debtors and Debtors-
      in-Possession for Authority to Employ the Law Office of Ross L. Hollenkamp as
      Special Litigation Counsel,” regarding the SBSC Action and the KGP 523/727
      Action. On May 10, 2022, the Court entered an “Order Granting Application of
      Debtors and Debtors-in-Possession for Authority to Employ the Law Office of
      Ross L. Hollenkamp as Special Litigation Counsel.” On June 27, 2022, the Court
      entered an order converting the case to Chapter 7. On June 29, 2022, Trustee
      was appointed.

      2. The SBSC Action
              On January 22, 2020, KGP filed a “Complaint for Damages and Equitable
      Relief: 1. Fraud 2. Breach of Fiduciary Duty and Confidence 3. Accounting 4.
      Unfair Competition, Constructive Trust and Restitution/Disgorgement 5.
      Conspiracy to Breach Fiduciary Duty 6. Intentional Interference with Economic
      Advantage and Business Opportunities 7. Wrongful Conversion 8. Declaratory
      Relief” against Cameron Kojima, Donald Teruo Kojima, Susan Kojima, and Does,
      in the SBSC Action.

               On May 3, 2022, KGP filed a “First Amended Complaint for: (1) Fraud (2)
      Breach of Fiduciary Duty (3) Accounting (4) Unfair Competition, Constructive
      Trust, and Restitution/Disgorgement (5) Conspiracy to Breach Fiduciary Duty (6)
      Intentional Interference with Economic Advantage and Business Opportunities
      (7) Conversion (8) Declaratory Relief (9)Violation of Penal Code § 496” (“SBSC
      FAC”) against Cameron Kojima, Donald Teruo Kojima, Susan Kojima, several
      business entities, and Does, which is now the operative complaint in the SBSC
      Action. In the SBSC Action, KGP contends that it is entitled to, inter alia: (a) an
      order that the “Adelanto Entities”2 are a single enterprise in which KGP is the
      majority stakeholder; (b) a constructive trust over all of the assets of the Adelanto
      Entities; (c) general damages in an amount of at least $5 million; (d) punitive and
      exemplary damages; (e) pre-judgment interest; and (f) attorneys’ fees and costs.
      If it prevailed on all its claims, KGP contends that it would be the sole owner of


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11:00 AM
CONT...       Don Teruo Kojima and Susan Lorraine Kojima                               Chapter 7
       the Adelanto Entities and its ownership of real property which would constitute a
       recovery in excess of $15 million. To date, the SBSC Action is pending and is not
       stayed.

              KGP contends that its rights to recover the assets of the Adelanto Entities
      including their ownership of real property would take precedence over the
      Estate’s rights to avoid and recover transfers made by the Debtor and their
      entities. Specifically, KGP asserts that they were defrauded into investing into the
      Debtor and its entities. As a result, the assets acquired by the entities were held
      in constructive or resulting trusts for their benefit. If successful, Trustee’s claims
      to avoid transfers of the debtors interests in property under bankruptcy law would
      be adversely affected.

      3. Claims Against The Estate
              In the Bankruptcy Case, 23 proofs of claims have been filed against the
      estate. The claims include $8,276,884.67 of secured claims and $700,175.62 of
      priority claims. KGP each filed a proof of claim asserting a $14,600,000
      unsecured claim. Not including the $8,276,884.67 of secured claims (the
      secured claims against the house have been paid), and KGP’s claims, there are
      $976,575.29 of other unsecured claims against the Estate. There are also
      Chapter 11 administrative claims for capital gains and Debtor’s counsel, WGH.

      4. The Settlement
             The salient terms of the proposed settlement with KGP are as follows:

      1) Within five business days after entry of an Order approving the Settlement
      Agreement, Trustee shall file a motion to substantively consolidate the Debtors
      and Kojima Development Company, LLC (“KDC”) (“Substantive Consolidation
      Motion”). The granting of the Substantive Consolidation Motion is not a condition
      to the effectiveness of this agreement (this is an important point to be discussed
      below).

      2) Trustee shall investigate and, if appropriate, file one or more actions to avoid
      and recover any pre-petition transfers of the interests of the Debtors and KDC in
      property including, but not limited to, transfers relating to their interests in the
      Adelanto Entities (and/or the property owned by those entities) to Debtors’ son,


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CONT...       Don Teruo Kojima and Susan Lorraine Kojima                                  Chapter 7
       Cameron Kojima, CK Development Associates, LLC, and one or more of the
       Adelanto Entities or other entities controlled by and/or affiliated with the Debtors
       (“Fraudulent Transfer Actions”). For the avoidance of doubt, “Fraudulent Transfer
       Actions” may include actions to determine that no such transfers actually took
       place. Nothing herein binds Trustee to administer any property or prosecute the
       Fraudulent Transfer Actions. However, if Trustee determines that he will not
       prosecute all or some of the potential Fraudulent Transfer Actions, Trustee shall
       assign them to KGP for their own benefit.

      3) KGP shall dismiss without prejudice the Debtors and the Debtors’ Estate from
      the State Court Action and shall seek to stay the State Court Action against all
      non-debtor defendants therein, including KDC. Except as expressly provided in
      paragraph 6 hereof, KGP shall not prosecute any claims or causes of action or
      seek any judgment or remedies that directly or indirectly affect the Estate’s rights
      and claims, including Trustee’s efforts to seek substantive consolidation or
      prosecute the Fraudulent Transfer Actions. The Parties will use their best efforts
      to resolve informally any disputes regarding whether KGP’s efforts conflict with
      Trustee’s claims. To the extent any dispute cannot be resolved informally, the
      bankruptcy court shall have the sole and exclusive jurisdiction to resolve any
      such dispute. KGP hereby irrevocably offers to assign its claims to Trustee. The
      assignment by KGP to the Trustee shall be deemed effective upon written notice
      by the Trustee of acceptance of such assignment. Following such assignment
      (and presumably acceptance), KGP’s aforementioned claims shall be prosecuted
      by the Estate, with recoveries to be distributed as set forth in paragraph 6 below.

      4) Trustee shall file an application to employ Elkins Kalt as special litigation
      counsel for the purpose of objecting to Debtors’ discharge under 11 U.S.C. §
      727 (“Objection to Discharge”). The granting of this application is not a condition
      of this agreement. Subject to approval of the Bankruptcy Court, Elkins Kalt shall
      be entitled to a Chapter 7 administrative claim against the Estate for its allowed
      fees and costs related to the Objection to Discharge. Trustee has requested and
      Elkins Kalt has agreed that the Estate’s responsibility for its fees will be capped
      at a reduced blended hourly rate of $350 per hour. Elkins Kalt retains the right to
      seek compensation from KGP for the difference between its regular hourly rates
      and this capped blended hourly rate. Trustee shall be the sole plaintiff in such
      action and shall retain all decision-making authority. If the application to employ


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CONT...       Don Teruo Kojima and Susan Lorraine Kojima                                  Chapter 7
       Elkins Kalt is denied, Trustee will retain alternate counsel.

      5) The Parties acknowledge that KGP’s and Trustee’s claims may conflict in that
      they both seek to recover property transferred to or assets held by the Adelanto
      Entities. Based on these conflicting theories as to ownership or claims to the
      entities and their assets, Trustee and KGP agree that recovery on claims
      currently held by either shall constitute property of the Estate. If requested by
      Trustee, KGP’s counsel shall provide assistance to Trustee, including serving as
      special litigation counsel (on terms mutually acceptable to the Trustee and Elkins
      Kalt), to prosecute or jointly prosecute all such litigation claims. Subject to
      bankruptcy court approval, Elkins Kalt shall be entitled to an administrative claim
      at their regular hourly rates for all such services. Lastly, Trustee contends that
      some or all of KGP’s claims may be subject to subordination under Section 510;
      KGP disagrees with the Trustee’s contention. To resolve such claims and as
      additional consideration given in support of this Agreement, the Parties agree that
      distributions by Trustee to allowed claims will be as follows:

      a. Allowed Chapter 7 Administrative Claims to be paid in full. Notwithstanding
      ¶ 7 of the Agreement, KGP shall be responsible for and must pay all fees and
      expenses associated with the 4.7 Acre Parcel including all allowed Chapter 7
      administrative claims. Trustee’s compensation shall be calculated at 4% of the
      value of such property on the date of recovery if title is recovered and delivered to
      KGP.

      b. Allowed Chapter 11 Administrative Claims, including any capital gains taxes
      arising from Debtors’ sale of their residence, to be paid in full.

      c. Trustee and KGP shall each retain standing to respond to any applications for
      allowance of fees and costs including any application by former counsel for the
      Debtors, Winthrop Golubow Hollander, LLP, or any other Chapter 11
      professionals.

      d. Allowed Priority Claims to be paid in full.

      e. Allowed Unsecured Claims (other than KGP) – to be paid 75% of their allowed
      amounts.


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CONT...       Don Teruo Kojima and Susan Lorraine Kojima                                  Chapter 7

      f. KGP shall have an allowed claim of $6.98 million, which claim will be partially
      subordinated to the extent necessary for other allowed unsecured claims to be
      paid as set forth above. After other allowed unsecured claims have received
      distributions equal to 75% of their allowed amounts, KGP shall be entitled to pro
      rata distributions along with all other unsecured creditors based on their reduced,
      unpaid balances.

      6) To the extent recovered as a result of the Fraudulent Transfer Actions or
      otherwise, title to the 4.7 acres (parcel number 3129-261-27 Cameron Ranch
      Adelanto Partners “4.7 Acre Parcel”), shall be vested in KGP. Nothing in this
      Agreement shall limit Trustee’s ability to settle any claim or dispute regarding the
      4.7 Acre Parcel in a manner that does not include a transfer or recovery of real
      property. To the extent Trustee’s settles claims relating to the 4.7 Acre Parcel, all
      cash or other consideration attributable to the 4.7 Acre Parcel, less allowed
      Chapter 7 administrative claims relating to such property, shall be paid to KGP.
      To the extent that KGP does not agree to a cash settlement of claims relating to
      the 4.7 Acre Parcel, the Trustee shall promptly abandon or assign such claims to
      KGP. After any abandonment or assignment of claims, KGP’s liability to pay
      allowed Chapter 7 administrative claims including compensation to Trustee
      (calculated at a reduced 2% of the value of the property to the extent recovered or
      of the value of any settlement) shall remain payable. KGP’s allowed unsecured
      claim of $6.98 million shall not be offset or diminished by the transfer of the 4.7
      Acre Parcel (or the cash or other consideration attributable to the 4.7 Acre
      Parcel) to KGP and, instead, shall be deemed to be additional consideration to
      KGP.

      7) Trustee and KGP shall each retain standing to object to the allowance of any
      claim regardless of priority. KGP shall retain standing to object to any
      compromise proposed by Trustee that results in the allowance of any unsecured
      claim.

      8) Except as set forth in the Settlement Agreement, the Parties shall exchange
      mutual and general releases including §1542 waivers. Trustee’s agreement to
      exchange such releases is dependent upon KGP’s representations that they
      have not received any transfers of property from Debtors.


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      9) Trustee’s motion for approval of the Settlement Agreement shall seek
      confirmation by the bankruptcy court that Ross Hollenkamp’s services to the
      Estate terminated upon conversion to Chapter 7. Trustee shall also seek turnover
      of all client documents in Mr. Hollenkamp’s possession including attorney-client
      communications. Trustee retains the privilege and decision whether to retain or
      waive such privilege.

      5. Legal Standards
             Under Rule 9019 of the Federal Rules of Bankruptcy Procedure
      (“FRBP”), the court may approve a compromise or settlement on motion by the
      trustee. Fed. R. Bankr. P. 9019. “In determining the fairness, reasonableness
      and adequacy of a proposed settlement agreement, the court must consider:

      (a) the probability of success of the litigation;
      (b) the difficulties, if any, to be encountered in the matter of collection;
      (c) the complexity of the litigation involved, and the expense, inconvenience and
      delay necessarily attending it; [and]
      (d) the paramount interest of the creditors and a proper deference to their
      reasonable views in the premises.” In re A & C Properties, 784 F.2d 1377,
      1380-81 (9th Cir. 1986).

      6. Should The Settlement Agreement Be Approved?
             The main points of contention among the oppositions are 1) the settlement
      does not serve the best interests of creditors; and 2) approval of the settlement
      would result in the trustee administering assets directly or indirectly involved the
      cannabis industry, which is prohibited by federal law.

              With respect to the first concern, despite assurances that administrative
      creditors like WGH will be paid in full, WGH is apparently dubious of such a
      representation. In particular, WGH argues that creditors will likely see estate
      resources depleted while the proposed law firm Elkins Kalt will reap hundreds of
      thousands of dollars in fees as a result of the plan outlined in the settlement
      agreement. In fact, WGH argues, the proposed motion for substantive
      consolidation might actually result in adding creditors to the estate, which would
      further dilute the recovery for the estate’s existing creditors. Debtors echo much


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CONT...         Don Teruo Kojima and Susan Lorraine Kojima                                  Chapter 7
       of the sentiment. However, neither in their oppositions take into account that this
       court retains authority over allowance of fees to Elkins Kalt, and a litigation
       campaign that fails to produce any recovery will not be well received. Further,
       substantive consolidation is not assured, as this court retains the ultimate
       authority to authorize this remedy…or not. If it develops that such consolidation
       will severely dilute the creditors' pro rata recovery, chances are great that it would
       not be authorized. Opponents also assert that KGP’s claims against the estate
       have a very low probability of success in the state court action much less
       obtaining a sizeable verdict. In short, Debtors believe KGP has several
       weaknesses in their state court litigation that Trustee has failed to take into
       account. For example, Debtors assert that KGP’s proofs of claim filed in this
       case are relatively thin on supporting documents that would evidence a $15
       million total valuation for the combined claims. Debtors also point out that KGP
       might have a statute of frauds issue as, apparently, no documents evidencing
       ownership of the entire Adelanto Property have been produced. With such
       weaknesses in their case, Debtors argue, settling for $6.98 million is excessive
       and unjustified.

              WGH and Debtors raise a few possibly valid points, especially with
      respect to the concerns over what constitutes the best interests of creditors.
      Trustee argues there is no basis for WGH’s concerns that this settlement, if
      approved, will primarily benefit Elkins Kalt to the potential detriment of other
      administrative creditors and unsecured creditors. Indeed, it is not clear why
      WGH believes Trustee will not hold up his end of the bargain by ensuring
      payment in full for administrative claims and a 75% recovery for allowed
      unsecured claims. After all, this court will be monitoring this case and making
      sure the terms of the agreement are on track. So long as Trustee can make good
      on his representations to this court, and at present the court is not given good
      cause to doubt Trustee’s ability to do so, the proposed terms seem like a fair
      compromise. The state court litigation is likely to be complex and time
      consuming, not to mention resource-consuming. The settlement with KGP would
      prevent long delays in payouts to creditors and would provide a clear path for this
      case going forward. There is certainly much value to be had there. It is also
      notable that aside from WGH, who by the terms of the proposed settlement will
      be paid in full, and the Kojimas, for whom valid standing to challenge this motion
      is at least somewhat suspect, no other interested party opposes the motion.


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                            United States Bankruptcy Court
                             Central District of California
                                          Santa Ana
                                   Theodor Albert, Presiding
                                    Courtroom 5B Calendar

Tuesday, December 20, 2022                                                   Hearing Room      5B

11:00 AM
CONT...         Don Teruo Kojima and Susan Lorraine Kojima                              Chapter 7
       Thus, the settlement agreement appears to be a valid exercise of the Trustee’s
       business judgment, will ease concerns over the outcome of potentially complex
       litigation, will allow creditors to know exactly what they are receiving and when,
       and will bring some clarity to the future of this case. Thus, because WGH and
       the Kojimas have not raised sufficient concerns in their respective oppositions,
       the settlement agreement, at least insofar as the A&C Properties factors pertain
       here, should be approved.

      7. Cannabis?
              However, even if the A&C Properties factors weigh in favor of approval,
      the second concern regarding certain estate assets and their use and/or
      proximity to the cannabis business could force a different outcome. Trustee
      strenuously disputes the characterization set forth by both WGH and the Kojimas
      in this regard. Trustee represents that nothing set in motion by this proposed
      settlement agreement will result in Trustee administering cannabis-related
      assets. The court is well aware that cannabis-related assets are a third-rail in
      bankruptcy administration, but the court is inclined to give the benefit of the doubt
      to Trustee’s representations that no cannabis-related assets will come into play.
      However, if despite Trustee’s best understanding of the assets involved,
      cannabis-related assets are discovered, the court would expect Trustee to alert
      the court immediately and take all necessary actions to prevent administration of
      such assets. In short, the court is, at this time, comfortable relying on Trustee’s
      representations.

      8. Other Issues
               Part of the settlement requires the Law Offices of Ross Hollenkamp,
      counsel to the Kojimas, to turn over to Trustee all client records related to this
      case as Trustee has sole authority to represent the interests of the estate,
      including taking over all interests in litigation. To this end, Trustee argues that he
      is entitled to all relevant client files now held by Mr. Hollenkamp pursuant to 11
      U.S.C. §§541 and 542. In particular, §542(e) states:

             “Subject to any applicable privilege, after notice and a hearing, the court
      may order an attorney, accountant, or other person that holds recorded
      information, including books, documents, records, and papers, relating to the
      debtor’s property or financial affairs, to turn over or disclose such recorded


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                            United States Bankruptcy Court
                             Central District of California
                                         Santa Ana
                                  Theodor Albert, Presiding
                                   Courtroom 5B Calendar

Tuesday, December 20, 2022                                                  Hearing Room        5B

11:00 AM
CONT...       Don Teruo Kojima and Susan Lorraine Kojima                                  Chapter 7
       information to the trustee.”

             It would seem then that Trustee is entitled to non-privileged information
      Mr. Hollenkamp may possess as relates to administration of this bankruptcy
      case. To that end, Trustee and Mr. Hollenkamp should work together to facilitate
      the transfer of such information. The court understands the tension here between
      the Trustee’s mandate to zealously administer the case and Mr. Hollenkamp’s
      duty of confidentiality to the Kojimas. Trustee does, however, point out that some
      courts have held that because a trustee, for all intents and purposes, stands in
      Debtors’ shoes, the trustee has the power to, at least to some extent, waive the
      attorney-client privilege that would otherwise belong to Debtors. See e.g. In re
      Bame, 251 B.R. 367, 375 (Bankr. D. Minn. 2000) (“Accordingly, I find that the
      attorney-client privilege has passed to the Trustee with respect to
      communications between Kennedy & Graven and the Debtor during the period
      that the Debtor served as the DIP as to all matters having to do with
      administration of the estate, including, in particular, disclosure and recovery of
      assets.”) See also Sharp v. Klein (In re Klein), 2013 Bankr. LEXIS 5096 at *40
      (Bankr. C.D. Cal. 2013) (“More importantly, the Court finds persuasive the
      holding in In re Bame… where the bankruptcy court, following the Supreme
      Court’s analysis in Commodity Futures Trading Com v. Weintraub, 471 U.S.
      343, 105 S. Ct. 1986 (1985), found that the trustee for the bankruptcy estate
      succeeded to the individual debtor-in-possession's power to assert or waive the
      attorney-client privilege with respect to matters involving the administration of the
      estate.”) However, as the court in In re Bame observed, “[i]f, however, Kennedy &
      Graven actually provided advice to Debtor as an individual, and not as a Debtor-
      in-Possession, the answer may be different.” Id.

             If court monitoring is required, the court will be available to resolve
      hardline disputes over information requests, but the court earnestly hopes that
      with the caliber and reputation of those involved, court assistance will not be
      necessary.

      Approve.


      Appearance: required

                                    Party Information
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620.

A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
December 13, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On December 27, 2022, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

 DEBTOR                                                                       JOINT DEBTOR
 DON TERUO KOJIMA                                                             SUSAN LORRAINE KOJIMA
 26 ENCHANTED                                                                 26 ENCHANTED
 IRVINE, CA 92620                                                             IRVINE, CA 92620

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL: Pursuant to
F.R.Civ.P. 5 and/or controlling LBR, on December 27, 2022, I served the following persons and/or entities by personal
delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
judge will be completed no later than 24 hours after the document is filed.


PURSUANT TO THE REVISED INTERIM PROCEDURES RE: COVID-19, UPDATED OCTOBER 21, 2021, OF THE
HONORABLE THEODOR C. ALBERT, CHIEF JUDGE, THE REQUIREMENT OF LBR 5005-2(d) TO PROVIDE JUDGES
COPIES IS SUSPENDED AT THIS TIME.

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 December 27, 2022                        Layla Buchanan                                         /s/ Layla Buchanan
 Date                                     Printed Name                                           Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): CONTINUED:
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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
